       Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 1 of 9




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                        IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION

 DENNIS BATEMAN​​,
                                                                COMPLAINT
           Plaintiff,
                                                             Case No. _________
 v.
                                                           Judge _______________
NEXSTAR MEDIA GROUP, INC.
                                                         JURY TRIAL DEMANDED
           Defendant.



       Plaintiff Dennis Bateman, by and through undersigned counsel of record, respectfully

submits this Complaint and complains against Nexstar Media Group, Inc., as follows:

                         PARTIES, VENUE, AND JURISDICTION

      1.      Plaintiff Dennis Bateman (“Mr. Bateman”), is an individual residing in Salt Lake

County, Utah.

      2.      Defendant Nexstar Media Group, Inc. (“Channel 4 News” or sometimes “Nextar”),

is a Delaware Corporation doing business in Salt Lake County, Utah.
        Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 2 of 9




      3.      Venue is appropriate under 28 U.S.C. § 1391(b) because the defendants all reside

within this district or because a substantial part of the events or omissions giving rise to the

claims occurred within this district.

      4.      Mr. Bateman initially filed a charge of discrimination in this matter with the Utah

Labor Commission and the EEOC, which issued him a Notice of Right to Sue. He received this

Notice of Right to Sue on or about August 7, 2018, and timely filed this action within 90 days.

      5.      Jurisdiction in this Court is proper as the claims herein arise under Federal law,

including the Americans with Disabilities Act, as amended (“ADA”), 42 U.S.C. § 12101, et seq.

      6.      The Court has personal jurisdiction over these parties because the events upon

which this Complaint is based took place primarily within Salt Lake County, Utah.

                                  GENERAL ALLEGATIONS

      7.      Mr. Bateman is disabled as that term is understood under the ADA, in that he is a

left leg, below-knee amputee, a physical impairment that substantially limits one or more major

life activities, such as walking, standing, lifting, and bending.

      8.      Mr. Bateman also suffers from Post-Traumatic Stress Disorder, causing severe

insomnia, a mental impairment that substantially limits one or more of his major life activities,

such as sleeping.

      9.      Mr. Bateman also suffers from a Cholesteatoma of the left ear that required

extensive surgery, resulting in significant hearing loss and a speech impediment, a physical

impairment that substantially limits one or more of his major life activities, such as hearing and

speaking.


                                                  2
        Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 3 of 9




       10.    Nexstar is an employer which, under information and belief, employs more than

501 people.

       11.    On or about December 6, 2014, Mr. Bateman was hired as a photojournalist, i.e.

cameraman, for Channel 4 News.

       12.    Mr. Bateman is a qualified individual with a disability, in that he was able to

perform all of the essential duties of the photojournalist position, with or without a reasonable

accommodation.

       13.    After the beginning of his employment, Mr. Bateman’s supervisor, Todd Peterson

(“Mr. Peterson”), the chief photographer, sent around an email informing the photojournalists

that he would be changing the schedules, and that anyone with concerns or unavailabilities

should contact him.

       14.    Thereafter, Mr. Bateman requested the reasonable accommodation that he not be

required to work back-to-back, or “turnaround” shifts, where a photojournalist works in the

evening on one day and then early the next day, and also requested to have two consecutive days

off.

       15.    Mr. Bateman’s disability required that he have more rest between shifts than was

permitted on a typical turnaround shift and the two consecutive days off were important for this

reason as well.

       16.    Mr. Bateman made his accommodation request in writing and also in person with

Mr. Peterson. Mr. Bateman explained to Mr. Peterson that he suffered from PTSD and insomnia,

which necessitated the accommodation.


                                                 3
        Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 4 of 9




      17.     Mr. Bateman also explained that while both requests would be appreciated, it was

particularly important that he not be required to work turnaround shifts.

      18.     His request was reasonable in that it enabled him to perform the essential functions

of the job of photojournalist without negatively impacting Channel 4 News’ business operations.

      19.     Acknowledging the same, Channel 4 News granted this request and permitted Mr.

Bateman to work his position without having to work turnaround shifts.

      20.     However, shortly thereafter Mr. Peterson began scheduling Mr. Bateman to work

turnaround shifts.

      21.     Mr. Bateman approached Mr. Peterson and again requested that he not be required

to work turnaround shifts due to his disability, but Mr. Peterson refused, and continued to

schedule Mr. Bateman for turnaround shifts, notwithstanding that Channel 4 News had

previously granted the request.

      22.     Upon information and belief, Mr. Peterson specifically targeted Mr. Bateman to

work turnaround shifts after learning of his request, in an effort to force him to quit.

      23.     Mr. Bateman then complained to Human Resources that Mr. Peterson was not

complying with his request for a reasonable accommodation, but his complaints were ignored.

      24.     Immediately after Mr. Bateman reported Mr. Peterson’s conduct to Human

Resources, Mr. Peterson retaliated against Mr. Bateman for making this report.

      25.     Among other things, Mr. Peterson began to make inappropriate and unwarranted

write-ups concerning Mr. Bateman’s work performance, when Mr. Bateman’s work performance

was equal to or better than the other photojournalists.


                                                  4
        Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 5 of 9




      26.     In fact, Mr. Bateman often went above and beyond the call of duty. This made the

other photojournalists jealous and resentful of him, particularly because he was able to do more

than them despite his disability.

      27.     Mr. Peterson and other Channel 4 News employees, whose identities will be

revealed through discovery, continued to harass, annoy, retaliate, and discriminate against Mr.

Bateman based on his disability in any number of ways, including but not limited to the

following:

              a.      Mr. Bateman’s camera equipment was sabotaged by other employees,

which was tacitly or explicitly permitted by Mr. Peterson;

              b.      Mr. Bateman was written up for supposed infractions and policy violations

for which other non-disabled employees were not sanctioned. For example, Mr. Bateman was

written up for missing a call while he was on-call, and other non-disabled employees were not

written up under similar circumstances.

              c.      Mr. Bateman was written up for accidentally breaking a piece of

equipment, and other non-disabled employees were not written up under similar circumstances;

              d.      Mr. Bateman was denied job opportunities and the chance to be the

photographer on the best assignments, such as a Parris RV spot that traveled throughout Utah;

              e.      Mr. Bateman was singled out for dress code violations;

              f.      Other photographers were given awards and commendations for work that

Mr. Bateman performed;




                                                5
       Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 6 of 9




              g.       Channel 4 News targeted Mr. Bateman for unnecessary and unwarranted

scrutiny and discipline;

              h.       Channel 4 News continually ignored his complaints and requests

concerning his treatment at the company, and permitted other employees to act in an abusive or

inappropriate manner toward him; and

              i.       Other unlawful acts that will be revealed through discovery.

      28.     At some point toward the end of his employment, Mr. Bateman was falsely

accused of being intoxicated at work.

      29.     Upon information and belief, this accusation was made based upon the manner in

which Mr. Bateman walks due to the fact that he has a prosthetic leg.

      30.     Thereafter, Mr. Peterson and George Severson (“Mr. Severson”), the News

Director at Channel 4 News, placed Mr. Bateman on probation for 30 days with the full intention

of terminating him at the conclusion of the probation, as demonstrated by the fact that they

provided Mr. Bateman with no explanation of how he could successfully complete the

probationary period.

      31.     The foregoing illegal treatment was a part of Channel 4 News’ intentional efforts

to make Mr. Bateman’s job so unbearable that he would quit.

      32.     The conditions created by Channel 4 News were so difficult that a reasonable

person in Mr. Bateman’s shoes would feel forced to resign.

      33.     As a result of these conditions, Mr. Bateman resigned his position, having been

constructively discharged from his position in violation of federal antidiscrimination law.


                                                 6
        Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 7 of 9




       34.     Mr. Bateman has suffered substantial damages as a result of Channel 4 News’

illegal conduct, to wit:

               a.      Lost wages from being illegally terminated;

               b.      Lost opportunities for advancement, raises, and promotions;

               c.      Diminished future wages as a result of losing his job and not being able to

find subsequent commensurate compensation;

               d.      Front pay;

               e.      Severe emotional distress, and pain and suffering;

               f.      Attorney fees; and

               g.      Due to the egregious nature of Channel 4 News’ intentionally

discriminatory conduct, Mr. Bateman is entitled to compensatory, punitive, and all other types

damages to the fullest extent provided by law.

                                 FIRST CAUSE OF ACTION
                             Unlawful Termination under the ADA

       35.     Mr. Bateman incorporates the preceding paragraphs as if stated verbatim herein.

       36.     For the reasons stated herein, Mr. Bateman is a disabled person within the meaning

of the ADA.

       37.     Mr. Bateman is qualified to perform the essential functions of the job of

photojournalist, with or without a reasonable accommodation.




                                                 7
       Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 8 of 9




      38.     Channel 4 News terminated Mr. Bateman’s employment based on and because of

his disability, or under circumstances which give rise to an inference that the termination was

based on his disability, in violation of the ADA.

      39.     Mr. Bateman has suffered significant damages as a result of this unlawful

discrimination, in an amount to be proven at trial but in no instance less than $300,000.00.

                              SECOND CAUSE OF ACTION
                         Unlawful Retaliation in Violation of the ADA

      40.     Mr. Bateman incorporates the preceding paragraphs as if stated verbatim herein.

      41.     By reporting Mr. Peterson’s conduct to human resources and as otherwise

described in this Complaint, Mr. Bateman engaged in activity protected under the ADA.

      42.     Mr. Bateman was subjected to an adverse employment action subsequent to or

contemporaneous with the protected activity.

      43.     There is a causal connection between Mr. Bateman’s protected activity and the

adverse employment action, including that they occured very close in time to one another.

      44.     Mr. Bateman has suffered significant damages as a result of this unlawful

discrimination, in an amount to be proven at trial but in no instance less than $300,000.00.

       WHEREFORE, Mr. Bateman prays for relief as follows:

      1.      On all of his causes of action, for back pay, front pay, an order or injunction

reinstating him to his prior position, special damages, punitive damages, and compensatory

damages, in an amount to be proven at trial.




                                                    8
       Case 2:18-cv-00815-DB-PMW Document 2 Filed 10/18/18 Page 9 of 9




      2.       On all causes of action, attorney fees, costs of suit, and any other relief the Court

deems equitable and warranted under the circumstances.

      3.       For damages in an amount to be proven at trial, but in no instance less than

$300,000.00.

                                         JURY DEMAND

       Mr. Bateman demands a jury trial on all claims so triable.

       DATED this 18th day of October, 2018.

                                       NONPROFIT LEGAL SERVICES OF UTAH



                                         /s/ Aaron C. Garrett
                                       Aaron C. Garrett
                                       Mary Dewey
                                       Attorneys for Plaintiff Dennis Bateman

Plaintiff’s Address:
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